Case 06-10771-jal       Doc 25       Filed 03/08/19        Entered 03/09/19 01:36:28              Page 1 of 3

                  UNITED STATES BANKRUPTCY COURT
                                  Western District of Kentucky
        IN RE:                                                            Case No.:06−10771−jal
        James H. Roberts and
        Marsha L. Roberts

                                    Debtor(s)                             Chapter: 7




                 NOTICE OF LAST DAY TO FILE CLAIMS
        TO THE DEBTOR(S), ITS CREDITORS AND ALL PARTIES IN INTEREST:

        IT IS ORDERED and Notice is hereby given that:

        Pursuant to notification by the trustee, debtor's schedules indicate that assets exist in this
        case from which unsecured creditors may receive a dividend.

        In order to preserve your right to receive a distribution from the above named debtor's
        estate, you must file a claim within 90 days of the date of this notice at the following
        address: U.S. Bankruptcy Court, 450 U.S. Courthouse, 601 W. Broadway, Louisville,
        Ky. 40202. A Proof of Claim form "Official Form B 10" can be obtained at the United
        States Courts Web site
        http://www.uscourts.gov/FormsAndFees/Forms/BankruptcyForms.aspx or at any
        bankruptcy clerk's office.

        Any claim not filed within 90 days will be barred from receiving any distribution of
        assets. Filing a claim with the trustee only is insufficient.

        If a claim has been previously filed, it is a part of the permanent court record. There is
        no reason to refile a claim unless you find it necessary to amend as to status or amount.

        Federal Bankruptcy Rule 9037 requires that personal identifiers (i.e. Social Security
        numbers, names of minor children, birthdates, financial account numbers, etc.) be
        redacted from pleadings and attachments filed with the Court. Responsibility for
        redacting this information rests solely with the filer.



        Dated: 3/6/19
                                                                FOR THE COURT
        By: aa                                                  Elizabeth H. Parks
        Deputy Clerk                                            Clerk, U.S. Bankruptcy Court
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                                      United States Bankruptcy Court
                                      Western District of Kentucky
In re:                                                                                  Case No. 06-10771-jal
James H. Roberts                                                                        Chapter 7
Marsha L. Roberts
         Debtors
                                        CERTIFICATE OF NOTICE
District/off: 0644-1           User: aallen                 Page 1 of 2                   Date Rcvd: Mar 06, 2019
                               Form ID: 217                 Total Noticed: 69


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 08, 2019.
db/jdb         +James H. Roberts,    Marsha L. Roberts,     1271 Pelly Lane,    Columbia, KY 42728-9009
aty             Kelly Thompson, Jr.,    304 E 11th,     PO Box 1927,    Bowling Green, KY 42102-1927
cr             +Campbellsville National Bank,     PO Box 1158,    Campbellsville, KY 42719-1158
3279487        +Aarow Financial Services,     5996 W Touhy Ave,    Niles, IL 60714-4610
3279489         Amc Mortgage Services,     505 City Pkwy South # 10,     Orange, CA 92868
3279490         Aspire,    PO Box 105341,    Atlanta, GA 30348-5341
3309767         BP/Amoco Citi Cards,,     P.O. Box 689076,,    Des Moines, IA 50368-9076
3279492        +Bush & Kennedy,    4336 North Blvd, Suite 704,     Baton Rouge, LA 70806-3920
3279495        +Cardiology Assoc. Of So. Kentucky,      1004 Glenview Drive,    Glasgow, KY 42141-3424
3279496        +Cbs Col Lex,    1510 Newtown Pike P.o. Box 11278,      Lexington, KY 40574-1278
3279497        +Cbs Col Owbr,    Pob 1430,    Owensboro, KY 42302-1430
3279499        +Columbus Bank And Trust,       Po Box 105555,    Atlanta, GA 30348-5555
3279500        +Commonwealth Cardiologists, P.S.C.,      210 East Gray Street, Suite 1002,
                 Louisvile, KY 40202-3906
3279501        +Commonwealth Engine Inc.,     11421 Electron Drive,     Louisville, KY 40299-3857
3279502        +Cornelius Credit And Collection Co. Inc,      P.O. Box 234,    Glasgow, KY 42142-0234
3279505        +Cumberland Orthodontics, Psc,     Karl Clinard D.M.D.,     23 Commercial Drive,
                 Somerset, KY 42501-6145
3279506        +Cville Ntlbk,    Pob 1158,    Campbellsville, KY 42719-1158
3279508        +Electric Motor Service,     P.O. Box 511,    Stollings, WV 25646-0511
3309774       ++FOCUS RECEIVABLES MANAGEMENT LLC,      1130 NORTHCHASE PARKWAY STE 150,    MARIETTA GA 30067-6429
               (address filed with court: Focus Receivables Management, LLC,,
                 1130 Northchase Parkway, Ste 150,,      Marietta, GA 30067)
3309770        +Family Medical Center,     P.O. Box 579,    Columbia, KY 42728-0579
3279510        +Fnb Columbia,    224 Public Square,     Columbia, KY 42728-1454
3279512        +Friedmans Jewelers,    171 Crossroads Pkwy,     Savannah, GA 31407-3021
3279513        +GE Consumer Finance,    NCO Financial Systems, Inc.,      507 Prudential Road,
                 Horsham, PA 19044-2308
3279517        +Greenberg, Grant & Richards Inc,     5858 Westheimer Road, Suite 500,     Houston, TX 77057-5645
3279518        +Hillcrest Credit Agn,     Po Box 2220,    Bowling Green, KY 42102-2220
3279520        +IC Commercial Services,     5201 Congress Avenue, Suite 225,     Boca Raton, FL 33487-3698
3279521        +J.A. Cambece Law Office, P.C.,     Eight Bourbon Street,     Peabody, MA 01960-7481
3279522         J.K.M. Credit Services LLC,     P.O. Box 38,    Drums, PA 18222-0038
3279524         LCA,    P.O. Box 2240,    Burlington, NC 27216-2240
3279527        +MAC Tools,    505 N. Cleveland Avenue, Suite 200,      Westerville, OH 43082-7130
3309768         NCO Financial Services,,     P.O. Box 41625,,    Philapdelphia, PA 19101-1625
3309771        +NVMS of Kentucky, LLC,,     100 Bluegrass Commons Blvd,,     Henderson, TN 37075-2732
3309773        +National Revenue Corp.,     4000 E. 5th Ave,,    Columbus, OH 43219-1811
3309772        +Neurosurgical Institute of Ky,     210 E Gray Street, Ste 1105,     Louisville, KY 40202-3926
3309766         Red Max,    P.O. Box 102576,    Atlanta, GA 30368-0576
3279529         Reddy & Lessenberry, P.S.C.,     106 Columns Plaza Drive,     Glasgow, KY 42141-8068
3279530        +Rjm Acq Llc,    575 Underhill Blvd Suite 224,     Syosset, NY 11791-3416
3279532        +Rotary Corp.,    P.O. Box 747,    Glennville, GA 30427-0747
3279534        +SIMM Associates, Inc,     P.O. Box 1139,    Oaks, PA 19456-1139
3309769         Staples Credit Plan,,     P.O. Box 689020,,    Des Moines, IA 50368-9020
3279536        +Statewide Credit Assoc,     101 W Ohio St Ste 2150,     Indianapolis, IN 46204-4205
3279537        +Stens,    2424 Cathy Lane,    Jasper, IN 47546-7707
3279538        +Taylor County Anesthesia, PSC,     P.O. Box 180,     Campbellsville, KY 42719-0180
3279539        +Taylor County Hospital,     1700 Old Lebanon Road,     Campbellsville, KY 42718-9600
3279541        #Universal Fidelity Lp,     P.O. Box 941911,    Houston, TX 77094-8911
3309765        +Williams & Williams,    1612 N.E. Expressway,     Atlanta GA 30329-2003
3279544        +Yellow Pages Processing Center,     P.O. Box 471902,     Tulsa, OK 74147-1902

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
3279488        +EDI: AFNIRECOVERY.COM Mar 07 2019 00:18:00       Afni,   Po Box 3097,
                 Bloomington, IL 61702-3097
3279491        +EDI: WFNNB.COM Mar 07 2019 00:18:00      Blair Corp,    220 Hickory St,    Warren, PA 16366-0001
3279493        +EDI: CAPITALONE.COM Mar 07 2019 00:18:00      Capital 1 Bk,    11013 W Broad St,
                 Glen Allen, VA 23060-6017
3279494        +E-mail/Text: cms-bk@cms-collect.com Mar 06 2019 19:31:29       Capital Manangement Services, Inc,
                 726 Exchange Street Suite 700,    Buffalo, NY 14210-1464
3279498        +E-mail/Text: jbegley@roccocelebrezze.com Mar 06 2019 19:32:10       Celebreeze & Associates,
                 Attorney At Law,   710 West Main Street, Suite 401,     Louisville, KY 40202-2698
3309764         EDI: RMSC.COM Mar 07 2019 00:18:00      Chevron,    P.O. Box 2001,    Concord, CA 94529-0001
3279503        +EDI: RCSFNBMARIN.COM Mar 07 2019 00:18:00      Credit One Bank,    P.O. Box 98873,
                 Las Vegas, NV 89193-8873
3279504        +E-mail/Text: scollins@cs-llc.com Mar 06 2019 19:31:38       Credit Soltn,
                 3290 Blazer Parkwa Suite 100,   Lexington, KY 40509-2169
3279509        +EDI: AMINFOFP.COM Mar 07 2019 00:18:00      First Premier Bank,    601 S Minnesota Ave,
                 Sioux Falls, SD 57104-4868
3279511        +EDI: RCSFNBMARIN.COM Mar 07 2019 00:18:00      Fnbm/credit One Bank,     Po Box 98875,
                 Las Vegas, NV 89193-8875
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District/off: 0644-1                  User: aallen                       Page 2 of 2                          Date Rcvd: Mar 06, 2019
                                      Form ID: 217                       Total Noticed: 69


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
3279514         E-mail/Text: bankruptcy@glacompany.com Mar 06 2019 19:31:09       Gla Collection Co,
                 2630 Gleeson Ln,   Louisville, KY 40299
3279515         E-mail/Text: bankruptcy@glacompany.com Mar 06 2019 19:31:09       Gla Collection Company, Inc,
                 Dept 002,   P.O. Box 7728,   Louisville, KY 40257-0728
3279516         E-mail/Text: check.bksupport@globalpay.com Mar 06 2019 19:31:22       Global Pay,
                 6215 W Howard St,   Niles, IL 60714
3279519        +EDI: HFC.COM Mar 07 2019 00:18:00     Hsbc Nv,     Po Box 19360,   Portland, OR 97280-0360
3279523        +EDI: RMSC.COM Mar 07 2019 00:18:00      Jc Penney,    Po Box 981127,   El Paso, TX 79998-1127
3279525         E-mail/Text: tcooper@gannett.com Mar 06 2019 19:31:42       Louisville Courier Journal,
                 P.O. Box 740031,   Louisville, KY 40201-7431
3279526         EDI: RMSC.COM Mar 07 2019 00:18:00      Lowes/mbga,    Po Box 103065,   Roswell, GA 30076
3279528        +E-mail/Text: cedwards@ncsplus.com Mar 06 2019 19:31:26       Ntl Crdt Sys,
                 117 E 24th St 5th Floor,   New York, NY 10010-2937
3279533        +EDI: RMSC.COM Mar 07 2019 00:18:00      Sams Club,    Po Box 981400,   El Paso, TX 79998-1400
3279535         E-mail/Text: bankruptcy@glacompany.com Mar 06 2019 19:31:09       Spine Inst For Spec Surg PSC,
                 C/O GLA Collection Company, Inc,   P.O. Box 7728,     Louisville, KY 40257-0728
3279540        +EDI: WTRRNBANK.COM Mar 07 2019 00:18:00      Tnb - Target,    Po Box 9475,
                 Minneapolis, MN 55440-9475
3279543        +EDI: WABK.COM Mar 07 2019 00:18:00      World Acceptance Corp,    109 Campbellsville St,
                 Columbia, KY 42728-1434
                                                                                              TOTAL: 22

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
3279507        ##+Dixie Sales Company,    P.O. Box 1408,   Greensboro, NC 27402-1408
3279531         ##RJM Acquisitions, LLC,    575 Underhill Blvd, Suite 224,   Syosset, NY                      11791-3416
3279542        ##+West Lake Primary Care,    P.O. Box 938,   Columbia, KY 42728-0938
                                                                                                                    TOTALS: 0, * 0, ## 3

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 08, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 6, 2019 at the address(es) listed below:
              Charles R. Merrill    ustpregion08.lo.ecf@usdoj.gov
              Christopher M. Hill    on behalf of Creditor   AMC Mortgage Services, Inc., as loan servicer for
               Ameriquest Mortgage Company chrish@hillslaw.com, tinariggs@hillslaw.com
              James R. Laramore    on behalf of Creditor   Campbellsville National Bank jrlaramore@bellsouth.net,
               brenick@bellsouth.net
              Mark H. Flener    mark@Flenerlaw.com, ky11@ecfcbis.com;deanna@flenerlaw.com
              Tim Ruppel     on behalf of US Trustee Charles R. Merrill ustpregion08.lo.ecf@usdoj.gov,
               tim.ruppel@usdoj.gov;timmy.ruppel@gmail.com
                                                                                             TOTAL: 5
